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14                             IN THE UNITED STATES DISTRICT COURT

15                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                            OAKLAND DIVISION

17

18
      STATE OF CALIFORNIA et al.;                              Case No. 4:19-cv-00872-HSG
19
                                           Plaintiffs, PLAINTIFF STATES OF CALIFORNIA
20                                                     AND NEW MEXICO’S
                    v.                                 SUPPLEMENTAL REQUEST FOR
21                                                     JUDICIAL NOTICE RE: REPLY IN
                                                       SUPPORT OF MOTION FOR PARTIAL
22    DONALD J. TRUMP, in his official capacity SUMMARY JUDGMENT REGARDING
      as President of the United States of America SECTIONS 284, 8005, AND 9002, AND
23    et al.;                                          OPPOSITION TO DEFENDANT’S
                                                       MOTION FOR PARTIAL SUMMARY
24                                      Defendants. JUDGMENT

25                                                             Judge:        Honorable Haywood S. Gilliam,
                                                                             Jr.
26                                                             Trial Date:   None Set
                                                               Action Filed: February 18, 2019
27

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                          Pl. States of California and New Mexico’s Supp. Req. for Jud. Notice
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 1           Plaintiffs hereby respectfully request, pursuant to Federal Rule of Evidence 201, that this

 2    Court take judicial notice of the following documents:

 3       1. Attached hereto as Exhibit 10 is a true and correct copy of an excerpt of the United States

 4           Government Accountability Office Report to Congressional Requesters dated February

 5           2017, and titled “SOUTHWEST BORDER SECURITY: Additional Actions Needed to

 6           Better Assess Fencing’s Contributions to Operations and Provide Guidance for Identifying

 7           Capability Gaps.” As of June 24, 2019, the full report can be found at

 8           https://www.gao.gov/assets/690/682838.pdf.

 9       2. Attached hereto as Exhibit 11 is a true and correct copy of the United States Department
10           of Homeland Security, U.S. Customs and Border Protection media release dated June 20,
11           2019, and titled “Border Patrol Arrests Man Attempting to Smuggle Meth and Heroin.”
12           As of June 24, 2019, the media release is posted on the United States Department of
13           Homeland Security, U.S. Customs and Border Protection website, at
14           https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrests-man-
15           attempting-smuggle-meth-and-heroin.
16       3. Attached hereto as Exhibit 12 is a true and correct copy of the United States Department
17           of Homeland Security, U.S. Customs and Border Protection media release dated June 14,
18           2019, and titled “Border Patrol Seizes Meth at Checkpoint.” As of June 24, 2019, the
19           media release is posted on the United States Department of Homeland Security, U.S.
20           Customs and Border Protection website, at https://www.cbp.gov/newsroom/local-media-
21           release/border-patrol-seizes-meth-checkpoint#.
22       4. Attached hereto as Exhibit 13 is a true and correct copy of the United States Department
23           of Homeland Security, U.S. Customs and Border Protection media release dated June 3,
24           2019, and titled “Border Patrol Arrests Man Attempting to Smuggle Meth.” As of June
25           24, 2019, the media release is posted on the United States Department of Homeland
26           Security, U.S. Customs and Border Protection website at
27           https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrests-man-
28           attempting-smuggle-meth-0.
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 1       5. Attached hereto as Exhibit 14 is a true and correct copy of the United States Department

 2          of Homeland Security, U.S. Customs and Border Protection media release dated April 18,

 3          2019, and titled “Border Patrol Agents Seize more than $1M in Narcotics at Checkpoint.”

 4          As of June 24, 2019, the media release is posted on the United States Department of

 5          Homeland Security, U.S. Customs and Border Protection website at

 6          https://www.cbp.gov/newsroom/local-media-release/border-patrol-agents-seize-more-1m-

 7          narcotics-checkpoint.
 8       6. Attached hereto as Exhibit 15 is a true and correct copy of the United States Department
 9          of Homeland Security, U.S. Customs and Border Protection media release dated April 17,
10          2019, and titled “El Centro Sector Border Patrol Seizes more than 100 Pounds of Meth.”
11          As of June 24, 2019, the media release is posted on the United States Department of
12          Homeland Security, U.S. Customs and Border Protection website at
13          https://www.cbp.gov/newsroom/local-media-release/el-centro-sector-border-patrol-seizes-
14          more-100-pounds-meth.
15       7. Attached hereto as Exhibit 16 is a true and correct copy of the United States Department
16          of Homeland Security, U.S. Customs and Border Protection media release dated March
17          18, 2019, and titled “Border Patrol Arrests Woman Attempting to Smuggle Meth.” As of
18          June 24, 2019, the media release is posted on the United States Department of Homeland
19          Security, U.S. Customs and Border Protection website at
20          https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrests-woman-
21          attempting-smuggle-meth.
22       8. Attached hereto as Exhibit 17 is a true and correct copy of the United States Department
23          of Homeland Security, U.S. Customs and Border Protection media release dated February,
24          19, 2018, and titled “Methamphetamine Seized at Border Patrol Checkpoint.” As of June
25          24, 2019, the media release is posted on the United States Department of Homeland
26          Security, U.S. Customs and Border Protection website at
27          https://www.cbp.gov/newsroom/local-media-release/methamphetamine-seized-border-
28          patrol-checkpoint.
                                                         3
                        Pl. States of California and New Mexico’s Supp. Req. for Jud. Notice
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 1       9. Attached hereto as Exhibit 18 is a true and correct copy of the United States Department

 2          of Homeland Security, U.S. Customs and Border Protection media release dated February

 3          8, 2019, and titled “Border Patrol Stops Two Smuggling Attempts.” As of June 24, 2019,

 4          the media release is posted on the United States Department of Homeland Security, U.S.

 5          Customs and Border Protection website at https://www.cbp.gov/newsroom/local-media-

 6          release/border-patrol-stops-two-smuggling-attempts.
 7       10. Attached hereto as Exhibit 19 is a true and correct copy of the United States Department
 8          of Homeland Security, U.S. Customs and Border Protection media release dated February
 9          1, 2019, and titled “Border Patrol Arrests Man Attempting to Smuggle Meth.” As of June
10          24, 2019, the media release is posted on the United States Department of Homeland
11          Security, U.S. Customs and Border Protection website at
12          https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrests-man-
13          attempting-smuggle-meth.
14       11. Attached hereto as Exhibit 20 is a true and correct copy of the United States Department
15          of Homeland Security, U.S. Customs and Border Protection media release dated January
16          28, 2019, and titled “Border Patrol Discovers Liquid Methamphetamine in Gas Tank.” As
17          of June 24, 2019, the media release is posted on the United States Department of
18          Homeland Security, U.S. Customs and Border Protection website at
19          https://www.cbp.gov/newsroom/local-media-release/border-patrol-discovers-liquid-
20          methamphetamine-gas-tank.
21       12. Attached hereto as Exhibit 21 is a true and correct copy of the United States Department
22          of Homeland Security, U.S. Customs and Border Protection media release dated January
23          28, 2019, and titled “Agents Seize Cocaine, Meth in Single Smuggling Attempt.” As of
24          June 24, 2019, the media release is posted on the United States Department of Homeland
25          Security, U.S. Customs and Border Protection website at
26          https://www.cbp.gov/newsroom/local-media-release/agents-seize-cocaine-meth-single-
27          smuggling-attempt.
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 1       13. Attached hereto as Exhibit 22 is a true and correct copy of the United States Department

 2          of Homeland Security, U.S. Customs and Border Protection media release dated

 3          December 17, 2018, and titled “Ultralight Aircraft Incursion Leads Border Patrol to Meth

 4          Seizure and 2 Arrests.” As of June 24, 2019, the media release is posted on the United

 5          States Department of Homeland Security, U.S. Customs and Border Protection website at

 6          https://www.cbp.gov/newsroom/local-media-release/ultralight-aircraft-incursion-leads-

 7          border-patrol-meth-seizure-and-2.
 8       14. Attached hereto as Exhibit 23 is a true and correct copy of the United States Department
 9          of Homeland Security, U.S. Customs and Border Protection media release dated
10          December 10, 2018, and titled “Agents Foil Multiple Methamphetamine Attempts.” As of
11          June 24, 2019, the media release is posted on the United States Department of Homeland
12          Security, U.S. Customs and Border Protection website at
13          https://www.cbp.gov/newsroom/local-media-release/agents-foil-multiple-
14          methamphetamine-attempts.
15       15. Attached hereto as Exhibit 24 is a true and correct copy of the United States Department
16          of Homeland Security, U.S. Customs and Border Protection media release dated
17          November 5, 2018, and titled “Border Patrol Agents Intercept Smuggling Attempt.” As of
18          June 24, 2019, the media release is posted on the United States Department of Homeland
19          Security, U.S. Customs and Border Protection website at
20          https://www.cbp.gov/newsroom/local-media-release/border-patrol-agents-intercept-
21          smuggling-attempt.
22       16. Attached hereto as Exhibit 25 is a true and correct copy of the United States Department
23          of Homeland Security, U.S. Customs and Border Protection media release dated October
24          15, 2018, and titled “Border Patrol Seize Meth Hidden Inside a Vehicle.” As of June 24,
25          2019, the media release is posted on the United States Department of Homeland Security,
26          U.S. Customs and Border Protection website at https://www.cbp.gov/newsroom/local-
27          media-release/border-patrol-seize-meth-hidden-inside-vehicle.
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 1       17. Attached hereto as Exhibit 26 is a true and correct copy of the United States Department

 2           of Homeland Security, U.S. Customs and Border Protection media release dated October

 3           10, 2018, and titled “Alien Smuggling Warrant Yields Arrests of Gang Members and

 4           Weapons.” As of June 24, 2019, the media release is posted on the United States

 5           Department of Homeland Security, U.S. Customs and Border Protection website at

 6           https://www.cbp.gov/newsroom/local-media-release/alien-smuggling-warrant-yields-

 7           arrests-gang-members-and-weapons.
 8       18. Attached hereto as Exhibit 27 is a true and correct copy of the United States Department
 9           of Homeland Security, U.S. Customs and Border Protection media release dated October
10           9, 2018, and titled “Border Patrol Seize Heroin from Body Carrier.” As of June 24, 2019,
11           the media release is posted on the United States Department of Homeland Security, U.S.
12           Customs and Border Protection website at https://www.cbp.gov/newsroom/local-media-
13           release/border-patrol-seize-heroin-body-carrier.
14       19. Attached hereto as Exhibit 28 is a true and correct copy of the United States Department
15           of Homeland Security, U.S. Customs and Border Protection media release dated October
16           3, 2019, and titled “DACA Recipient Arrested by Border Patrol for Smuggling Meth.” As
17           of June 24, 2019, the media release is posted on the United States Department of
18           Homeland Security, U.S. Customs and Border Protection website, at
19           https://www.cbp.gov/newsroom/local-media-release/daca-recipient-arrested-border-
20           patrol-smuggling-meth.
21          Exhibits 10-28 are judicially noticeable because they are posted on official government
22    websites. See Daniels–Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998–99 (9th Cir. 2010) (judicially
23    noticing information contained on a government website); Paralyzed Veterans of America v.
24    McPherson, No. C 06–4670 SBA, 2008 WL 4183981, at *5 (N.D. Cal. Sept. 9, 2008) (finding
25    that courts commonly take judicial notice of information and documents on government websites,
26    citing cases from various jurisdictions). Thus, the statements of government departments and
27    agencies contained within this exhibit are not subject to reasonable dispute, as the statements “can
28
                                                           6
                          Pl. States of California and New Mexico’s Supp. Req. for Jud. Notice
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 1    be accurately and readily determined from sources whose accuracy cannot reasonably be

 2    questioned.” Fed. R. Evid. § 201(b)(2).

 3          Exhibits 10-28 are judicially noticeable because government memoranda, bulletins, letters,

 4    statements, and opinions are matters of public record appropriate for judicial notice. See Brown v.

 5    Valoff, 422 F.3d 926, 933 n.9 (9th Cir. 2005) (judicially noticing an administrative bulletin);

 6    Mack v. S. Bay Beer Distribs., Inc., 798 F.2d 1279, 1282 (9th Cir. 1986) (court may take judicial

 7    notice of records and reports of state administrative bodies), abrogated on other grounds by

 8    Astoria Fed. Sav. & Loan Ass’n v. Solimino, 501 U.S. 104, 111 (1991); Interstate Nat. Gas. Co. v.

 9    S. Cal. Gas. Co., 209 F.2d 380, 385 (9th Cir. 1953) (judicially noticing government agency

10    records and reports); Cnty. of Santa Clara v. Trump, 250 F. Supp. 3d 497, 520 n. 5, 522, n. 8, and

11    523, n. 11 (N.D. Cal. 2017) (taking judicial notice of government memoranda and letters).

12          Exhibits 10-28 are judicially noticeable because the statements of government officials or

13    entities contained within these exhibits are not subject to reasonable dispute, as the statements

14    “can be accurately and readily determined from sources whose accuracy cannot reasonably be

15    questioned.” Fed. R. Evid. § 201(b)(2).

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     Case 4:19-cv-00872-HSG         Document 183-2           Filed 06/24/19         Page 8 of 61



 1    Dated: June 24, 2019                                    Respectfully submitted,

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                   EXHIBIT 
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                            United States Government Accountability Office

                           Report to Congressional Requesters




February 2017
                           SOUTHWEST
                           BORDER SECURITY

                           Additional Actions
                           Needed to Better
                           Assess Fencing's
                           Contributions to
                           Operations and
                           Provide Guidance for
                           Identifying Capability
                           Gaps



GAO-17-331
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El Centro, California
6HFWRUSUR¿OH                                                                                 Sector map
The geography of El Centro is largely desert, but also includes                                                                                              United States
rugged mountains, agricultural areas, a designated wilderness                                                                          Nevada
area, and several military reservations. Cities near the border
include Mexicali, Mexico (population 900,000) and Calexico, CA                                                                                                  Arizona
                                                                                                                        California
(population 40,000).
                                                                                                                         El Centro
Land border                                                       70 miles                                                                  Yuma
                                                                                                                                                                 Tucson
Land area                                                         107,750 square miles                 San Diego
Border zones / interior zones                                     20 / 30
                                                                                                                  San Diego
Primary fencing                                                   59 miles                                                                      Yuma
Patrol roads                                                      214 miles                                         Tijuana    Mexicali                                Tucson
                                                                                                                                            San Luis                             Sunland
Agents assigned                                                   1004                                                                      Rio Colorado               Nogales
Funds obligated for tactical infrastructure                       $3.7 million                                                                               Nogales
operations and maintenance (FY 2015)                                                                                                                                        Mexico
Percentage of total estimated known illegal                       4 percent
entries in southwest border zones recorded in                                                  Legend
the El Centro sector (FYs 2013-2015)                                                                 State line           Sector boundary                Border
Source: U.S. Customs and Border Protection. | GAO-17-331
                                                                                                     State name               Sector name                U.S. city           Mexican city
Note: FY: Fiscal Year. Zone counts are as of Sept. 2015; miles and layers of                  Source: U.S. Customs and Border Protection; MapInfo (map). | GAO-17-331
fencing, Sept. 2016; patrol roads, Nov. 2015; agents assigned, Sept. 2015.
                                                                                              Percentage of sector border miles covered by
Fencing overview                                                                              fencing, by layer, type, and design (September 2016)
About nine percent of all miles of primary fencing along the                                     Primary layer
southwest border are located in the El Centro sector, where three of
the sector’s 20 border zones are completely covered by pedestrian                             Secondary layer
fencing and an additional 11 border zones are partially covered by
pedestrian fencing. Border Patrol agents recorded approximately                                  Tertiary layer
SHUFHQWRIHVWLPDWHGNQRZQLOOHJDOHQWULHVLQWKHVHFWRULQ¿VFDO
years 2013-2015 in the three border zones partially covered by                                                     0            20          40           60            80        100
legacy pedestrian fencing, where agents had apprehension rates of                                                   Percentage covered
60 percent. Agents recorded 23 percent of estimated known illegal
entries in the six border zones without any pedestrian fencing and                                      Legacy pedestrian                    Legacy vehicle                   No fence
apprehended 70 percent of illegal entrants in those zones. Border
Patrol agents in the sector had an estimated overall apprehension                                       Modern pedestrian                    Modern vehicle
rate of 67 percent, higher than the 56 percent apprehension rate for                          Source: GAO analysis of U.S. Customs and Border Protection data. | GAO-17-331
the southwest border as a whole.
                                                                                              Note: Due to rounding, percentages may not total 100.

(VWLPDWHGNQRZQLOOHJDOHQWULHVLQERUGHU]RQHVE\IHQFLQJW\SHGHVLJQDQGFRYHUDJH¿VFDO\HDUV
                                                                                                                                                               Apprehension rate
                                                              Total estimated known          Estimated known             Estimated known turn                  of estimated known
                                                                  illegal entries             drive throughs             backs and got aways                         entrants
 Primary fence type (2015)
 (number and percent of border zones)                            Number         Percentage               Number          Number           Percentage                        Percentage
 No fence (2, 10%)                                                  6,147              12                           9          1,814                    11                           70
 Pedestrian fence (PF) total (11, 55%)                             32,001              61                           0         11,896                    69                           63
         Modern PF complete coverage (2, 10%)                       2,273               4                           0           617                      4                           73
            Modern PF partial coverage (5, 25%)                     9,178              17                           0          3,560                    21                           61
             Legacy PF partial coverage (3, 15%)                   15,426              29                           0          6,177                    36                           60
            Mixed PF complete coverage (1, 5%)                      5,124              10                           0          1,542                     9                           70
 Mixed vehicle fence (VF) partial coverage                          5,947               11                         19          1,505                     9                           75
 (4, 20%)
 Mixed PF/VF complete coverage (3, 15%)                             8,508              16                           6          1,980                    12                           77
 Total (20, 100%)                                                  52,603             100                          34         17,195                   100                           67
Source: GAO analysis of U.S. Customs and Border Protection data. | GAO-17-331

Note: “Mixed” fencing coverage refers to border zones with a mixture of legacy and modern fencing designs. Due to rounding, percentages may not total 100.




                                                              Page 49                                                                     GAO-17-331 Tactical Infrastructure
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El Paso, New Mexico and Texas
6HFWRUSUR¿OH                                                                                 Sector map
The sector includes mountains, deserts, irrigation canals, and                                                                      United States
rivers and just over a half of the sector area consists of small                                       Arizona                       New Mexico
towns and isolated rural areas. The international border
separates the cities of Ciudad Juarez, Mexico (population 1.3
million) and El Paso, TX (population 670,000).
                                                                                                        Tucson                         El Paso
Land border / river border                                        180 miles / 88 miles
                                                                                                                                                                                Texas
Land area                                                         125,000 square miles
Border zones / interior zones                                     39 / 41
                                                                                                              Tucson                    Las Cruces
Primary fencing                                                   166 miles                                             Sunland Park
                                                                                              ado                                            El Paso
Patrol roads                                                      465 miles                                   Nogales               Ciudad               Big Bend
Agents assigned                                                   2,364                             Nogales                                                                  Del Rio
                                                                                                                                    Juarez
Funds obligated for tactical infrastructure                       $5.9 million                                     Mexico
operations and maintenance (FY 2015)
                                                                                               Legend
Percentage of total estimated known illegal                       5 percent
entries in southwest border zones recorded in                                                         State line            Sector boundary              Border
the El Paso sector (FYs 2013-2015)                                                                    State name            Sector name                  U.S. city         Mexican city
Source: U.S. Customs and Border Protection. | GAO-17-331
                                                                                              Source: U.S. Customs and Border Protection; MapInfo (map). | GAO-17-331
Note: FY: Fiscal Year. Zone counts are as of Sept. 2015; miles and layers of
fencing, Sept. 2016; patrol roads, Nov. 2015; agents assigned, Sept. 2015.
                                                                                              Percentage of sector border miles covered by
                                                                                              fencing, by layer, type, and design (September 2016)
Fencing overview
Approximately 25 percent of all primary border fencing miles                                     Primary layer
along the southwest border are located in the El Paso sector, as
                                                                                              Secondary layer
well as about a third of all secondary and tertiary fencing. Agents
recorded about 67 percent of estimated known illegal entries in                                  Tertiary layer
border zones partially covered with pedestrian fencing and eight
percent in zones with complete pedestrian fencing. Agents recorded                                                  0          20            40          60          80        100
the lowest estimated zone apprehension rate on the southwest                                                         Percentage covered
border (17 percent) in the three border zones in the sector that are
completely covered by modern pedestrian fencing; four percent of                                        Legacy pedestrian                     Legacy vehicle                No fence
total estimated known illegal entries were recorded in these zones.
Agents recorded 25 percent of estimated known illegal entries in                                        Modern pedestrian                     Modern vehicle
the sector in border zones with no pedestrian fencing, where the                              Source: GAO analysis of U.S. Customs and Border Protection data. | GAO-17-331
estimated apprehension rate ranged from 52 to 58 percent.
(VWLPDWHGNQRZQLOOHJDOHQWULHVLQERUGHU]RQHVE\IHQFLQJW\SHGHVLJQDQGFRYHUDJH¿VFDO\HDUV
                                                                                                                                                              Apprehension rate
                                                              Total estimated known          Estimated known             Estimated known turn                 of estimated known
                                                                  illegal entries             drive throughs             backs and got aways                        entrants
 Primary fence type (2015)
 (number and percent of border zones)                            Number         Percentage                Number         Number          Percentage                       Percentage
 No fence (7, 18%)                                                  8,021              13                          15        3,848                      11                           52
 Pedestrian fence (PF) total (21, 54%)                             41,066              68                           1       27,667                      78                           33
          Modern PF complete coverage (3, 8%)                       2,661               4                           0        2,203                       6                           17
           Modern PF partial coverage (13, 33%)                    18,534              30                           1       12,474                      35                           33
              Legacy PF partial coverage (2, 5%)                    7,072              12                           0        5,391                      15                           24
            Mixed PF complete coverage (1, 3%)                      2,273               4                           0        1,689                       5                           26
                Mixed PF partial coverage (2, 5%)                  10,526              17                           0        5,910                      17                           44
 Vehicle fence (VF) total (9, 23%)                                  7,004              12                          14        2,919                       8                           58
            Modern VF partial coverage (7, 18%)                     5,454               9                           7        2,334                      7                            57
              Legacy VF partial coverage (1, 3%)                       703              1                           6          406                       1                           42
                Mixed VF partial coverage (1, 3%)                      847              1                           1          179                       1                           79
 Mixed PF/VF partial coverage (2, 5%)                               4,737               8                           2        1,188                       3                           75
 Total (39, 100%)                                                  60,828             100                          32       35,622                     100                           41
Source: GAO analysis of U.S. Customs and Border Protection data. | GAO-17-331

Note: “Mixed” fencing coverage refers to border zones with a mixture of legacy and modern fencing designs. Due to rounding, percentages may not total 100.


                                                              Page 52                                                                   GAO-17-331 Tactical Infrastructure
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                   EXHIBIT 1
Border Patrol Arrests Man Attempting to Smuggle Meth and Heroin | U....       https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrest...
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              Official website of the Department of Homeland Security




1 of 2                                                                                                                            6/23/2019, 6:58 PM
Border Patrol Arrests Man Attempting to Smuggle Meth and Heroin | U....   https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrest...
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                   EXHIBIT 2
Border Patrol Seizes Meth at Checkpoint | U.S. Customs and Border Prot...      https://www.cbp.gov/newsroom/local-media-release/border-patrol-seize...
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                   EXHIBIT 3
Border Patrol Arrests Man Attempting to Smuggle Meth | U.S. Customs ...       https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrest...
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                   EXHIBIT 4
Border Patrol Agents Seize more than $1M in Narcotics at Checkpoint | ...      https://www.cbp.gov/newsroom/local-media-release/border-patrol-agents...
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Border Patrol Agents Seize more than $1M in Narcotics at Checkpoint | ...   https://www.cbp.gov/newsroom/local-media-release/border-patrol-agents...
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                   EXHIBIT 5
El Centro Sector Border Patrol Seizes more than 100 Pounds of Meth | U....    https://www.cbp.gov/newsroom/local-media-release/el-centro-sector-bor...
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El Centro Sector Border Patrol Seizes more than 100 Pounds of Meth | U....   https://www.cbp.gov/newsroom/local-media-release/el-centro-sector-bor...
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                   EXHIBIT 6
Border Patrol Arrests Woman Attempting to Smuggle Meth | U.S. Custo...        https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrest...
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                   EXHIBIT 7
Methamphetamine Seized at Border Patrol Checkpoint | U.S. Customs a...        https://www.cbp.gov/newsroom/local-media-release/methamphetamine-s...
                       Case 4:19-cv-00872-HSG                       Document 183-2     Filed 06/24/19       Page 29 of 61

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                   EXHIBIT 8
Border Patrol Stops Two Smuggling Attempts | U.S. Customs and Border...       https://www.cbp.gov/newsroom/local-media-release/border-patrol-stops...
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Border Patrol Stops Two Smuggling Attempts | U.S. Customs and Border...   https://www.cbp.gov/newsroom/local-media-release/border-patrol-stops...
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                   EXHIBIT 9
Border Patrol Arrests Man Attempting to Smuggle Meth | U.S. Customs ...       https://www.cbp.gov/newsroom/local-media-release/border-patrol-arrest...
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                   EXHIBIT 20
Border Patrol Discovers Liquid Methamphetamine in Gas Tank | U.S. Cu...       https://www.cbp.gov/newsroom/local-media-release/border-patrol-discov...
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Border Patrol Discovers Liquid Methamphetamine in Gas Tank | U.S. Cu...   https://www.cbp.gov/newsroom/local-media-release/border-patrol-discov...
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                   EXHIBIT 2
Agents Seize Cocaine, Meth in Single Smuggling Attempt | U.S. Custom...       https://www.cbp.gov/newsroom/local-media-release/agents-seize-cocain...
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Agents Seize Cocaine, Meth in Single Smuggling Attempt | U.S. Custom...   https://www.cbp.gov/newsroom/local-media-release/agents-seize-cocain...
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                   EXHIBIT 22
Ultralight Aircraft Incursion Leads Border Patrol to Meth Seizure and 2 ...    https://www.cbp.gov/newsroom/local-media-release/ultralight-aircraft-in...
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Ultralight Aircraft Incursion Leads Border Patrol to Meth Seizure and 2 ...   https://www.cbp.gov/newsroom/local-media-release/ultralight-aircraft-in...
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                   EXHIBIT 23
Agents Foil Multiple Methamphetamine Attempts | U.S. Customs and B...          https://www.cbp.gov/newsroom/local-media-release/agents-foil-multipl...
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Agents Foil Multiple Methamphetamine Attempts | U.S. Customs and B...   https://www.cbp.gov/newsroom/local-media-release/agents-foil-multipl...
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                   EXHIBIT 24
Border Patrol Agents Intercept Smuggling Attempt | U.S. Customs and ...       https://www.cbp.gov/newsroom/local-media-release/border-patrol-agents...
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                   EXHIBIT 25
Border Patrol Seize Meth Hidden Inside a Vehicle | U.S. Customs and B...      https://www.cbp.gov/newsroom/local-media-release/border-patrol-seize-...
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Border Patrol Seize Meth Hidden Inside a Vehicle | U.S. Customs and B...   https://www.cbp.gov/newsroom/local-media-release/border-patrol-seize-...
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                   EXHIBIT 26
Alien Smuggling Warrant Yields Arrests of Gang Members and Weapons...        https://www.cbp.gov/newsroom/local-media-release/alien-smuggling-wa...
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Alien Smuggling Warrant Yields Arrests of Gang Members and Weapons...   https://www.cbp.gov/newsroom/local-media-release/alien-smuggling-wa...
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                   EXHIBIT 27
Border Patrol Seize Heroin from Body Carrier | U.S. Customs and Borde...      https://www.cbp.gov/newsroom/local-media-release/border-patrol-seize-...
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Border Patrol Seize Heroin from Body Carrier | U.S. Customs and Borde...   https://www.cbp.gov/newsroom/local-media-release/border-patrol-seize-...
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                   EXHIBIT 28
DACA Recipient Arrested by Border Patrol for Smuggling Meth | U.S. C...       https://www.cbp.gov/newsroom/local-media-release/daca-recipient-arres...
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            español (/newsroom/local-media-release/patrulla-fronteriza-arresta-beneficiario-de-daca-por-
            contrabandear?language=es)




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DACA Recipient Arrested by Border Patrol for Smuggling Meth | U.S. C...   https://www.cbp.gov/newsroom/local-media-release/daca-recipient-arres...
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